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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF IOWA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Global Processing, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  945 150th Street
                                  Kanawha, IA 50447
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Hancock                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       http://www.globalprocessing.org


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Global Processing, Inc.                                                                     Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         None of the above

                                      B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                3112

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                         Chapter 7
     debtor filing?
                                         Chapter 9

                                         Chapter 11. Check all that apply:
                                                                Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 04/01/25 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return, or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D) and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                 When                                  Case number
                                                District                                 When                                  Case number

10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an               Yes.
    affiliate of the debtor?




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Debtor    Global Processing, Inc.                                                                         Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    Global Processing, Inc.                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 24, 2022
                                                  MM / DD / YYYY


                             X   /s/ David M. Wilcox                                                      David M. Wilcox
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Ronald C. Martin                                                      Date October 24, 2022
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Ronald C. Martin AT0005050
                                 Printed name

                                 Day Rettig Martin, P.C.
                                 Firm name

                                 PO Box 2877
                                 Cedar Rapids, IA 52406-2877
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (319) 365-0437                Email address      ronm@drpjlaw.com

                                 AT0005050 IA
                                 Bar number and State




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    3E Electrical, Engineering & Equip. Co.
    PO Box 850365
    Minneapolis, MN 55485-0365



    A & P Enterprises, Inc.
    2521 River Road
    Waterloo, NE 68069



    Abbey Teel
    919 S Main St.
    Clarion, IA 50525



    AC/DC Welding & Construction
    11 5th Ave.
    Livermore, IA 50558



    ADM / Harvest Innovations
    PO Box 92572
    Chicago, IL 60675-2572



    AG Advantage, Inc.
    PO Box 715
    Fort Dodge, IA 50501



    ALG Worldwide
    PO Box 66725
    Chicago, IL 60666



    ALPHAMEDIA USA
    1418 25th Street
    Columbus, NE 68601



    Amber Kluver-Heimer
    540 310th St.
    Woden, IA 50484
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American Natural Processors, Inc.
600 Stevens Port Drive, Ste. 325
Dakota Dunes, SD 57049



Amerigas
PO Box 660288
Dallas, TX 75266-0288



Andrea McClintic
103 W Rochelle St
Elwood, NE 68937



Archer Daniel Midland Company
North American Headquarters
Corporate Credit Department
PO Box 1470
Decatur, IL 62525



Arkman Logistics USA Inc.
6131 Orangethorp Ave., Ste. 170C
Buena Park, CA 90620



ATC Ccmmunications
PO Box 300
Arapahoe, NE 68922-0300



Austin Reed
21 Lodge Trail Drive
Monticello, IL 61856



Baird Seed Company
1122 Knox Highway 18
Williamsfield, IL 61489



Benson Hill, Inc.
1001 N. Warson Rd.
Saint Louis, MO 63132
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Best-One of Kansas, Inc.
PO Box 268
Great Bend, KS 67530



Black Hills Energy
PO Box 6001
Rapid City, SD 57709-6001



Blish-Mize Co.
PO Box 877850
Kansas City, MO 64187-7850



BNSF Railway Company
3110 Solutions Center
Chicago, IL 60677-3001



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BW Telcom
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Benkelman, NE 69021-0645



Central Valley Ag
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Chad Stannard
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Chris Olson
833 S 5th St.
Albion, NE 68620
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Christopher K. Loftus
Simmons Perrine Moyer Bergman PLC
1150 5th St., Suite 170
Coralville, IA 52241



Commodity Services, Inc.
1501 S. State Street, Suite 200
Fairmont, MN 56031



Compuweigh Corporation
50 Middle Quarter Road
Woodbury, CT 06798



Conveyco
3470 Washinton Dr., Ste. 211
Egan, MN 55122



Dave Wilcox
24842 617th St.
Mantorville, MN 55955



De Lage Landen Financial Services, Inc.
PO Box 41602
Philadelphia, PA 19101-1602



DEML Logistics LLC
11002 Co. Rd 45 South
Owatonna, MN 55060
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Douglas D. Anderson
Saul Ewing Arnstein & Lehr, LLP
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Minneapolis, MN 55402



Dustin Langholz
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Elm Creek, NE 68836



Eagle Ridge Farms, Inc
1063 Hoffman Rd
Loogootee, IN 47553



Earl W. Hill
Earl W. Hill Law Offices, Healy-Way Bldg
35 Main Ave. S
PO Box 301
Britt, IA 50423



Eclipse Transervices Corp.
513 E Court St, 2nd Floor
PO Box 68
Beatrice, NE 68310-0068



Ed Hillenga Trucking
415 260th St.
Wesley, IA 50483



El Dorado/PROAMPAC
25366 Network Place
Chicago, IL 60673-1253



Engh Seed
Attn: Kim Pleggenkuhle
500 3rd St. NE
Mason City, IA 50401
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Envirologix Inc.
500 Riverside Industrial Pkwy
Portland, ME 04103



Ethan Kenney
605 N Easy St
Elm Creek, NE 68836



Express Logistics
4651 121st Street
Urbandale, IA 50323



F.W. Cobs Company Inc.
PO Box 30
Saint Albans Bay, VT 05481



Faithway Alliance, LLC
PO Box 995
Guntersville, AL 35976



Farm Credit Services of America
PO Box 2409
Omaha, NE 68103



Farm News
PO Box 3367
Charleston, WV 25333



Farmers Trust & Savings Bank
202 Main Ave. North
Britt, IA 50423



Farmers Trust & Savings Bank
101 N Main St.
Buffalo Center, IA 50424
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Fastenal Company
PO Box 978
Winona, MN 55987-0978



FedEx
PO Box 94515
Palatine, IL 60094-4515



Ford Credit
PO Box 552679
Detroit, MI 48255-2679



Frenchman Valley Coop
PO Box 578
202 Broadway
Imperial, NE 69033-0578



Gilberto Castro
315 E 5th St.
Wray, CO 80758



Hancock County Treasurer
855 State Street
PO Box 70
Garner, IA 50438



Hankins Trucking, LLC
PO Box 198
Corwith, IA 50430



Hansen-Mueller Co.
12231 Emmet St., Suite 1
Omaha, NE 68164



Hastings Equity Manufacturing
PO Box 729
Hastings, NE 68902-0729
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Hawkeye IA Grain Systems/Sumner Electric
20656 190th Street
PO Box 126
Hawkeye, IA 52147



Herculift, Inc.
5655 Highway 12 West
PO Box 69
Maple Plain, MN 55359



Howlett Farms, Inc.
Attn: Cliff Howlett
1692 Kent Ave.
Britt, IA 50423



Huber Supply
385 Saint John Drive
Owatonna, MN 55060



Hutchison Western
PO Box 1158
Adams City, CO 80022



Illinois Crop Improvement Assoc
3105 Research Road
Champaign, IL 61822



Imperial NAPA
PO Box 846
Imperial, NE 69033



Internal Revenue Service
P. O. Box 7346
Philadelphia, PA 19101-7346
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Iowa Department of Revenue
Office of the Attorney General of Iowa
Attn: Bankruptcy Unit
1305 E. Walnut Street
Des Moines, IA 50319



Iowa Soybean Association
PO Box 8174
Des Moines, IA 50301



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Jaeschke Trucking
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Jaime Ortega Rojas
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Haigler, NE 69030



James Kennedy, Bureau Chief
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James Traub
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Jayden Johanson
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Jerod Wolff
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Jesse Boren
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Jim Shaver Trucking
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JMS Millwright & Repair, Inc.
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Jordan VonRuden
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Jose Diaz
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K & M Tire
PO Box 279
Delphos, OH 45833



Kanawha Apartments Cooperative
208 West 5th Street
Kanawha, IA 50447



Kim & Sue Pleggenkuhle
2503 S 3rd St
Clear Lake, IA 50428-2834



Krienke Foods International Inc.
Caleb Krienke, Registered Agent
1343 Arden View Dr.
Saint Paul, MN 55112



Krienke Foods International Inc.
Attn: Caleb Krienke
1716 Stuart Ave.
Mountain Lake, MN 56159



Lana Thompsen
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Ellendale, MN 56026



Laurie Scheur
1329 Hancock Ave.
Kanawha, IA 50447



Lee Agri-Media
Lee Advertising
PO Box 4690
Carol Stream, IL 60197-4690



Legend Seeds Inc.
PO Box 241
De Smet, SD 57231
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Long Engineering LLC
13001 Twana Drive
Urbandale, IA 50323



Marco Tchnologies LLC
NW 7128
PO Box 1450
Minneapolis, MN 55485-7128



Mark Albertson
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Goodfield, IL 61742



Massai Agricultural Services S.A.
Bello Horizonte 845 OF. 302
Rancagua, Cachapoal Province 2820000
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Material Solutions Consulting, LLC
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West Des Moines, IA 50266



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Cedar Rapids, IA 52401-1266



Mead Lumber Co.
1740 Bill Babke Dr.
Columbus, NE 68601



Mediterranean Shipping Company
Freight Cashier Dept.
700 Watermark Blvd
Mount Pleasant, SC 29464
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Forest City, IA 50436



Midwest Family Mutual Insurance Co.
PO Box 860593
Minneapolis, MN 55486-0593



Midwest Laboratories, Inc.
PO Box 685
Gretna, NE 68028



Midwest Soya International, Inc.
500 3rd St. NE
Mason City, IA 50401



Minnesota Crop Improvement Association
1900 Hendon Ave.
Saint Paul, MN 55108



Nebraska Dept. of Agriculture/FSCP
FSCP/Weights & Measures
PO Box 94668
Lincoln, NE 68509



Nevada Soy Products
1150 Silver Spur Way
Plumas Lake, CA 95961



Nissin International Transport USA Inc.
PO Box 512391
Los Angeles, CA 90051-0391



North Star Container, LLC
7400 Metro Blvd., Ste. 300
Edina, MN 55439
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Northern Iowa Grain Processors, LLC
12456 Addison Ave.
Riceville, IA 50466



Office of the General Counsel
US Department of Agriculture
PO Box 419205; Mail Stop 1401
Kansas City, MO 64141-6205



On-Site Computers Inc.
PO Box 513
Grand Meadow, MN 55936



Patrick Standke
3173 SE 118th St.
Blooming Prairie, MN 55917



PDM Distribution Services, Inc.
2728 6th Ave.
Des Moines, IA 50313



Pipeline Foods, LLC
6499 University Ave. NE, Suite 200
Fridley, MN 55432



Plunkett's Pest Control
Attn: Jeanette McCall
40 NE 52nd Way
Fridley, MN 55421



PT Brokers
PO Box 1949
201 E. Sunflower Road, Suite 12
Cleveland, MS 38732



QFRC - WRAY - Ace Hardware
333 Dexter St.
Wray, CO 80758
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Queen Logistics, LLC
PO Box 849
Hickory, NC 28603



Ray-Mont Logistics
300 N Mullan Rd., Ste. 101
Spokane Valley, WA 99206



Reicks Way Logistics
11275 145th Road
Amherst, NE 68812



RFG Logistics Inc.
5820 SO 142nd St.
Omaha, NE 68137



Rhonda Myers
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Bertrand, NE 68927



Rooster Strategic Solutions
PO Box 401
Clinton, IL 61727
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S & S Trucking
140 Howard Ave.
PO Box 27
Woden, IA 50484



Sandhill Equipment Inc.
44362 US Hwy 20, PO Box 507
Bassett, NE 68714



Scales Sales & Service LLC
8615 Vernon Avenue
Omaha, NE 68134



Scoop Media
PO Box 278
Trenton, NE 69044



Scott L. Halbur
Faegre Drinker Biddle & Reath LLP
801 Grand Ave., 33rd Floor
Des Moines, IA 50309



SFM
PO Box 583178
Minneapolis, MN 55458-3178



Shane Hagan
PO Box 241 Lakeshore 7 Dr 14-1
Elwood, NE 68937



Spahn Properties, LLC
70318 Haigler Rd.
Haigler, NE 69030



Speltz Farms, Inc.
c/o Michael S. Dove
Gislason & Hunter LLP
PO Box
New Ulm, MN 56073-0458
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Speltz Farms, Inc.
19457 County Rd 28
Altura, MN 55910



Spirit Hybrids, LLC
14575 University Ave.
Waukee, IA 50263



St. Francis Equity
PO Box 545
Saint Francis, KS 67756



St. Francis Mercantile Equity Exchange
123 N River Street
PO Box 545
Saint Francis, KS 67756



State Grain Inspections, Inc.
PO BOX 11710
Bozeman, MT 59719



Storey Kenworthy/Matt Parrott
309 Locust Street
Des Moines, IA 50309



Stratton Equity Cooperative Co.
98 Colorado Ave.
PO Box 25
Stratton, CO 80836-0025



SunOpta, Inc.
7301 Ohms Ln #600
Minneapolis, MN 55439



Terri Fritz, Director, Grain Warehouse &
Nebraska Public Service Commission
300 The Atrium, 1200 "N" St.
PO Box 94927
Lincoln, NE 68509
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The Organic & Non-GMO Report
PO Box 436
Fairfield, IA 52556



TKO Pest Control, LLC
PO Box 223
Palisade, NE 69040



TQL
PO Box 634558
Cincinnati, OH 45263



Tradelanes, Inc.
950 Tower Lane, Suite 2100
Foster City, CA 94404



Trevor Matulka, Staff Attorney
Nebraska Public Service Commission
1200 N Street, Suite 300
Lincoln, NE 68508



Tristan Stock
11750 85th Rd.
Elm Creek, NE 68836



ULINE
PO Box 88741
Chicago, IL 60680-1741



Union Pacific Railroad Co.
12567 Collections Center
Chicago, IL 60693



United Bags, Inc.
PO Box 208548
Dallas, TX 75320-8548
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US Attorney
111 7th Avenue SE, Box 1
Cedar Rapids, IA 52401



Valor Victoria Ltd.
Attn: Accounting
1631 N. Emerson Street, Unit 217
Denver, CO 80218



Vicki Wiebke
24842 617th St.
Mantorville, MN 55955



Waste Management
PO Box 4648
Carol Stream, IL 60197-4648



WeFarm Organics (Eden Org. Grains, LLC)
16217 Heron Ave.
La Mirada, CA 90638



Wilson Brajan Garcia
1033 Franklin St.
Wray, CO 80758



World Food Processing, LLC dba PURIS
4301 World Food Ave.
Oskaloosa, IA 52577
                 Case 22-00669                    Doc 1          Filed 10/24/22 Entered 10/24/22 13:26:39           Desc Main
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                                                               United States Bankruptcy Court
                                                                     Northern District of Iowa
 In re      Global Processing, Inc.                                                               Case No.
                                                                                 Debtor(s)        Chapter      11




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       October 24, 2022                                         /s/ David M. Wilcox
                                                                      David M. Wilcox/President
                                                                      Signer/Title




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                                                               United States Bankruptcy Court
                                                                     Northern District of Iowa
 In re      Global Processing, Inc.                                                                        Case No.
                                                                                 Debtor(s)                 Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Global Processing, Inc. in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 October 24, 2022                                                    /s/ Ronald C. Martin
 Date                                                                Ronald C. Martin AT0005050
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Global Processing, Inc.
                                                                     Day Rettig Martin, P.C.
                                                                     PO Box 2877
                                                                     Cedar Rapids, IA 52406-2877
                                                                     (319) 365-0437 Fax:(319) 365-5866
                                                                     ronm@drpjlaw.com




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